                      Case 13-20120-LMI      Doc 107   Filed 05/11/22      Page 1 of 7




           ORDERED in the Southern District of Florida on May 10, 2022.




                                                       Laurel M. Isicoff
                                                       Chief United States Bankruptcy Judge
___________________________________________________________________________




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
           IN RE:

           Michel Jarbath                               CASE NO. 13-20120-LMI
                                                        Chapter 13

                 Debtor.
           ______________________________/

                ORDER SETTING REQUIREMENTS FOR EVIDENTIARY HEARING
                        AND ESTABLISHING RELATED DEADLINES

                 THIS MATTER came before the Court upon the Debtor’s Motion [to]

           Enforce Discharge Order Pursuant to 11 U.S.C. §524(i) (ECF #90) (the “Motion”)

           and related Response (ECF #93) filed by Nationstar Mortgage LLC d/b/a

           Champion Mortgage Company (“Nationstar”). The Court entered its Order

           Granting Debtor’s Motion to Enforce Discharge Order (ECF #102) (the “Order”)

           directing the Debtor to file a statement of damages setting forth the damages

           that he is seeking. The Order stated if Nationstar disputes the statement that


                                                 Page 1
           Case 13-20120-LMI    Doc 107   Filed 05/11/22   Page 2 of 7




the Court would set the matter for trial to determine the amount of damages to

be awarded to the Debtor. The Debtor filed his Statement of Damages (ECF #104)

(the “Damages Statement”) and Nationstar filed an Objection (ECF #106).

Accordingly, the Court ORDERS as follows:


     1.    EVIDENTIARY HEARING; SERVICE. The Court will hold an
           evidentiary hearing on the Motion on July 11, 2022 commencing
           at 9:30 a.m. before the Honorable Laurel M. Isicoff at the United
           States Bankruptcy Court, 301 N. Miami Avenue, Courtroom 8,
           Miami, Florida 33128. The Court has reserved one day for this
           matter. The Debtor shall serve a copy of this order on all appropriate
           parties and file a certificate of service thereof as required by this
           Court’s local rules.

           Although the Court will conduct the hearing in person, any
           interested party who is not participating in the presentation of
           evidence (except by unopposed proffer) may choose to attend the
           hearing remotely using the services of Zoom Video Communications,
           Inc. (“Zoom”), which permits remote participation by video or by
           telephone. To participate in the hearing remotely via Zoom (whether
           by video or by telephone), you must register in advance no later than
           4:00 p.m., one business day before the date of the hearing. To
           register, click the link below or manually enter the link in a browser:

           https://www.zoomgov.com/meeting/register/vJItfuqurDsoEnWyiK
           eoSfMa3m888k3mfBM

           Zoom will provide a password-protected link for the appropriate
           video conference to those who register to participate and who have
           been approved by the Court.

           All participants (whether attending in person or remotely) must
           observe the formalities of the courtroom, exercise civility, and
           otherwise conduct themselves in a manner consistent with the
           dignity of the Court. This includes appropriate courtroom attire for
           those participants appearing in person or by video.


     2.    PUBLIC ACCESS. The evidentiary hearing scheduled by this order
           is a public matter. Although usually the public may only attend a
           live hearing, because the number of persons in the courtroom
           continues to be limited, the general public is invited to listen to the

                                     Page 2
     Case 13-20120-LMI    Doc 107   Filed 05/11/22   Page 3 of 7




     hearing by telephone. Any person wishing to listen to the hearing by
     telephone may register using the Zoom link and mark “listen only”
     on the registration page.

3.   RECORDING PROHIBITED; OFFICIAL RECORD. No person may
     record the proceedings from any location by any means. The audio
     recording created and maintained by the Court shall be the sole
     basis for creation of a transcript that constitutes the official record
     of the evidentiary hearing.

4.   MEDIATION. Pursuant to Local Rule 9019-2, the Court may order
     the assignment of this contested matter to mediation or judicial
     settlement conference at any time, upon the request of a party or
     sua sponte.

5.   DISCOVERY. All discovery must be completed not later than seven
     days before the evidentiary hearing. The Court will allow discovery
     after that date only upon a showing of good cause. All expert reports
     shall be exchanged no later than the conclusion of discovery, unless
     the parties agree otherwise. The time for responding to
     interrogatories, requests for admission or requests for production is
     shortened to fourteen (14) days from service of the discovery.

6.   WITNESS LISTS. No later than 4:00 p.m. four business days
     before the evidentiary hearing, all parties must exchange and file
     with the Court witness lists identifying all fact and expert witnesses
     each party intends to call at the evidentiary hearing (other than
     rebuttal or impeachment witnesses).

7.   SUBMISSION AND EXCHANGE OF EXHIBITS. No later than 4:00
     p.m. four business days before the evidentiary hearing, the
     parties must submit and exchange all exhibits pursuant to the
     requirements of Local Rule 9070-1, which requires all parties to
     upload exhibits through CM/ECF, with some exceptions where
     any party is not represented by counsel.

     If any party intends to offer in evidence at the evidentiary hearing a
     summary, chart or calculation to prove content as permitted by
     Federal Rule of Evidence 1006, that party must provide to the other
     parties a notice of the location(s) of the books, records, and the like,
     from which each summary has been made, and the reasonable times
     when they may be inspected and copied by adverse parties. More
     voluminous documents may require earlier notice of intent to
     use a summary.




                                Page 3
      Case 13-20120-LMI    Doc 107   Filed 05/11/22   Page 4 of 7




8.    OBJECTIONS TO EXHIBITS. All objections to exhibits must comply
      with Local Rule 9070-1 and must be filed and served, so as to be
      received no later than 4:00 p.m. two business days before the
      evidentiary hearing. The parties must meet and confer (by
      telephone or video conference) to resolve, to the extent possible, any
      objections to exhibits. Any unresolved objections (other than
      objections to relevancy) will be addressed at the beginning of the
      evidentiary hearing.

9.    JOINT STIPULATION WHERE ALL PARTIES REPRESENTED BY
      COUNSEL. (If any party is not represented by counsel in this
      proceeding as of the date of entry of this Order, this paragraph will
      not apply.) All parties to this proceeding must meet and confer (in
      person, if geographically feasible, and otherwise by video conference
      or by telephone) not later than seven days prior to the hearing and
      prepare a written stipulation substantially in the form of Local Form
      63C setting forth the following: (a) undisputed facts; (b) disputed
      facts to be litigated; and (c) issues of law to be litigated. The
      stipulation must be signed by the attorneys for all parties. The fully
      executed joint stipulation must be filed no later than 4:00 p.m. one
      business day before the evidentiary hearing. The Court will not
      accept unilateral statements and will sua sponte strike any such
      submission. Should any of the parties fail to cooperate in the
      preparation of the joint stipulation, any other party may file a motion
      requesting an order to show cause why such party or parties (and/or
      their counsel) should not be held in contempt and sanctioned for
      failure to comply with this order.

10.   REMOTE WITNESS TESTIMONY. In accordance with Federal Rule
      of Civil Procedure 43(a) (made applicable by Federal Rule of
      Bankruptcy Procedure 9017), for good cause and in compelling
      circumstances a witness may be permitted to testify by
      contemporaneous transmission from a location other than the
      courtroom. If a party wishing to present witness testimony seeks to
      have the witness appear remotely, the party must file a motion
      pursuant to Fed. R. Bank. P. 9017 no later than 21 days prior to
      the evidentiary hearing. The motion must include the following:

      A.    The particular reason why the witness must appear remotely.

      B.    Her or his name and title (if applicable).

      C.    Matter(s) on which the remote witness will provide testimony.




                                Page 4
      Case 13-20120-LMI    Doc 107   Filed 05/11/22   Page 5 of 7




      D.    The city, state, and country where the remote witness will be
            located while testifying.

      E.    The type of place from which the remote witness will testify,
            such as a home or an office. No addresses are required.

      F.    Whether anyone will be in the room with the remote witness
            during the testimony and, if so, for each such person, the
            person’s name, title, relationship to the remote witness, and
            purpose    for    being      present   with    the   witness.

      G.    Whether the remote witness will have access to any
            documents other than exhibits that have been provided to the
            Court and the parties and, if so, identifying each such
            document.

      If the remote witness cannot testify from the office of someone who
      can administer the oath, the Court will administer the oath to each
      remote witness during the video conference and witness testimony
      will have the same effect and be binding upon each remote witness
      in the same manner as if such remote witness was sworn in by the
      Court in person in open court.

11.   RESPONSIBILITY FOR REMOTE WITNESSES. The party
      sponsoring each remote witness shall be responsible for ensuring
      that the remote witness has registered for the video conference, has
      obtained all exhibits prior to the hearing, has registered with Zoom,
      and has equipment and internet service sufficient to permit
      participation in the evidentiary hearing.

12.   DIRECT TESTIMONY BY DECLARATION. At each party’s option,
      except in a contested matter where a party is self-represented, the
      direct testimony of any witness, except an adverse, hostile, or
      rebuttal witness, may be presented by sworn declaration consisting
      of a succinct written statement of the direct testimony that the
      witness would be prepared to give if questions were propounded in
      the usual fashion at the hearing. If a party offers a sworn declaration
      in lieu of direct testimony:

      A.    The statement shall substantially conform to Local Form 63B
            and shall be signed by the declarant under penalty of perjury;

      B.    Each statement of fact shall be separate, shall be sequentially
            numbered, and shall contain only facts that are relevant and
            material to the contested issue before the Court, avoiding



                                Page 5
      Case 13-20120-LMI   Doc 107    Filed 05/11/22   Page 6 of 7




            redundancies, hearsay, and other obviously objectionable
            statements;

      C.    The statement may be referenced as the witness’ “sworn
            declaration of fact”;

      D.    The original sworn declaration of fact shall be marked as a
            proposed exhibit and filed and delivered as otherwise required
            by this Order;

      E.    Objections to any portion of a sworn declaration of fact may
            be raised at the time the sworn declaration of fact is offered to
            the Court. The witness shall then be sworn in and asked if the
            sworn declaration of fact correctly reflects the testimony that
            would be given if the witness was asked the appropriate
            questions. Opposing counsel may then cross-examine the
            witness. At the conclusion of cross-examination, the party
            whose witness is on the stand may conduct redirect
            examination in the usual manner; and

      F.    The Court may require that direct testimony be provided in
            the usual manner during the hearing even if a sworn
            declaration of fact is offered.

13.   CONDUCT DURING EVIDENTIARY HEARING. Other than the
      attorneys questioning a witness on direct examination or cross-
      examination, no person shall communicate with a witness during
      his or her testimony unless specifically authorized by the Court.

14.   COURTROOM TECHNOLOGY. Parties are encouraged to use the
      technology available in the courtroom. Contact IT Services at
      FLSBml_IT_Services@flsb.uscourts.gov to arrange an opportunity to
      test your presentation on the courtroom equipment prior to the
      evidentiary hearing.

15.   FINAL ARGUMENT. At the conclusion of the evidentiary hearing,
      in lieu of final argument, the Court may request that each party file
      with the Court (a) a written closing statement with supporting legal
      argument or (b) a proposed memorandum opinion with findings of
      fact and conclusions of law with a separate proposed final judgment.
      Each submission must contain individually numbered paragraphs
      and follow the formatting requirements set forth in Part Two of the
      Court’s Guidelines for Preparing, Submitting, and Serving Orders.
      Each proposed finding of fact must be supported by a citation to the
      record, or it will be disregarded. Each proposed conclusion of law
      must be supported by a citation to applicable law, or it will be

                                Page 6
           Case 13-20120-LMI   Doc 107     Filed 05/11/22   Page 7 of 7




           disregarded. Absent prior permission of the Court, submissions may
           not exceed a total of twenty pages. If specifically requested, the
           Court may also direct the parties to submit a copy of the proposed
           memorandum opinion with findings of fact and conclusions of law,
           along with a copy of the separate proposed final judgment, in word
           processing format to an electronic mailbox designated by the Court.
           The filer must include in the “subject” line of the email the case
           name and number and the date of the relevant hearing.

     16.   SETTLEMENT. If the contested matter is settled, the parties shall
           submit to the Court a stipulation approved by all parties and a
           motion for approval of the same prior to the date of the evidentiary
           hearing. If a stipulation and motion are not submitted to the Court,
           all parties shall be prepared to proceed with the evidentiary hearing.
           If the contested matter is removed from the calendar based upon the
           announcement of a settlement, the contested matter will not be reset
           for hearing if the parties fail to consummate the settlement. In such
           event, the Court will consider only a motion to enforce the
           settlement, unless the sole reason the settlement is not
           consummated is that the Court did not approve the settlement, in
           which case the matter will be reset for hearing at a later date.

     17.   SANCTIONS. Failure to appear at the evidentiary hearing or to
           comply with any provision of this order may result in appropriate
           sanctions, including the award of attorney’s fees, striking of papers,
           exclusion of exhibits or witnesses, or the granting or denial of the
           Motion.

     18.   CONTINUANCES. Continuances of the evidentiary hearing or any
           deadlines set forth in this order must be requested by written
           motion. Any request for continuance or amendment to this order
           must set forth the status of discovery, including exchange of
           disclosures required under this order, must state the reasons why
           the party or parties seek a continuance, and must state whether the
           client and other parties consent to a continuance. The stipulation of
           all parties is not sufficient grounds, standing alone, for a
           continuance.

                                     ###
Copy to:
Matthew Bayard, Esq.
April Harriott, Esq.




                                     Page 7
